  Case 2:13-cr-06070-SAB                 ECF No. 5       filed 12/04/13       PageID.6       Page 1 of 1




      United States District Court, Eastern District of Washington
                               Magistrate Judge James P. Hutton
                                            Yakima

USA v. KENNY ROWELL                                                Case No.        MJ-13-4363-JPH-1

Initial Appearance on Complaint:                                                             12/04/2013

☒ Pam Howard, Courtroom Deputy [Y]                       ☒ Alex Ekstrom, US Atty
                                                         ☒ Alison Guernsey, Defense Atty
☒ Carrie Valencia, US Probation / Pretrial               ☒ Interpreter NOT REQUIRED
  Services Officer
☒ Defendant present in custody USM

☒    USA Motion for Detention                            ☒    Rights given
☐    USA not seeking detention                           ☒    Acknowledgment of Rights filed
☒    Financial Affidavit (CJA 23) filed                  ☒    Defendant received copy of charging document
☒    The Court will appoint the Federal Defenders        ☒    Defendant waived reading of charging document
☐    Based upon conflict with Federal Defenders, the     ☐    Charging document read in open court
     Court will appoint a CJA Panel Attorney
☒    PRE-Trial Services Report ordered                   ☐    POST Pre-Trial Services Report ordered

                                                REMARKS

        Defendant appeared and was assisted by counsel and advised of their rights and the allegations
contained in the charging document.


The Court ordered:
        1. Defendant shall be detained by the U. S. Marshal until further order of the Court.




Bail Hrg:                                                    Probable Cause Hrg:
12/09/2013 @ 2:00 p.m.                                       12/11/2013 @ 2:00 p.m.
[S/JTR] (Video Conf)                                         [S/JTR] (Video Conf)




                             FTR/Y‐102                 Time: 2:03 p.m. – 2:08 p.m.                     Page 1
